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 8                      UNITED STATES DISTRICT COURT
 9                    CENTRAL DISTRICT OF CALIFORNIA
10                               EASTERN DIVISION
11   SHANNON ORR,                   )         No. 5:19-cv-01720-JDE
                                    )
12                                  )
                         Plaintiff, )         ORDER AWARDING ATTORNEY
13                                  )
                   v.               )         FEES UNDER THE EQUAL
14                                  )         ACCESS TO JUSTICE ACT,
     ANDREW M. SAUL, Commissioner )
                                    )
                                              28 U.S.C. § 2412(d)
15   of Social Security,
                                    )
                                    )
16                      Defendant.  )
                                    )
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           Based upon the parties’ Stipulation (Dkt. 22), IT IS ORDERED that
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     Plaintiff shall be awarded attorney’s fees of $4,000 under 28 U.S.C. § 2412(d)
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     and no costs under 28 U.S.C. § 1920, subject to the terms of the above-
21
     referenced Stipulation.
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     Dated: September 18, 2020
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25                                              JOHN D. EARLY
                                                United States Magistrate Judge
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